Case 1:05-md-01720-MKB-JAM   Document 7791-2   Filed 11/21/19   Page 1 of 27 PageID
                                  #: 113488




                        EXHIBIT B
       Case 1:05-md-01720-MKB-JAM Hon.Document
11/21/2019                                           7791-2
                                       Elizabeth D. Laporte          Filed
                                                            (Ret.), JAMS   11/21/19
                                                                         Mediator             Page 2 of 27 PageID
                                                                                  and Arbitrator
                                                           #: 113489




                                              Hon. Elizabeth D. Laporte
                                              (Ret.)
                                              Case Manager
                                              Sandra Chan
                                              T: 415-774-2611
                                              F: 415-982-5287
                                              Two Embarcadero Center, Suite 1500, San Francisco, CA
                                              94111
                                              schan@jamsadr.com




Biography

Hon. Elizabeth D. Laporte (Ret.) joined JAMS after more than two decades as a United States magistrate judge for the
Northern District of California. Judge Laporte was the chief United States magistrate judge for the Northern District of
California from 2013 to 2015. As a magistrate judge, she presided over numerous civil cases with the parties’ consent,
with a robust docket that included patent, trademark, copyright, business, class actions, employment, insurance,
environmental, antitrust and civil rights litigation.
Judge Laporte is known for helping to shape patent and intellectual property case law and for advancing the court’s e-
discovery procedures. Her colleagues and the legal community consider her among the leading legal thinkers on e-
discovery issues. For her efforts, she earned the Judicial Leadership Award from the Electronic Discovery Institute in
2015. She also launched the Northern District’s Women Attorneys Advocacy Project, which seeks to promote gender
equality in the legal community.
As a neutral at JAMS, Judge Laporte adds value to the ADR process with extensive experience conducting settlement
conferences and resolving discovery disputes, as well as presiding over numerous cases from start to finish, including
through summary judgment and/or trial. Those who have appeared before her have witnessed her settlement skills and
fair, thorough and intelligent style. Here are a few of their comments:
        “She is the sort who will stay at the table until the deal is concluded.”
        “She works very hard at bringing about settlement.”
        “She is objective.”
        “She is very fair.”
A recent Daily Journal profile included related comments such as the following:
        “She is very detail oriented. She takes a hands-on approach.”
        “She had tough questions for both sides and yet let both sides say what they needed to…the issues were fully
        aired.”
https://www.jamsadr.com/laporte/                                                                                         1/6
       Case 1:05-md-01720-MKB-JAM Hon.Document
11/21/2019                                           7791-2
                                       Elizabeth D. Laporte          Filed
                                                            (Ret.), JAMS   11/21/19
                                                                         Mediator             Page 3 of 27 PageID
                                                                                  and Arbitrator
                                                       #: 113490
        “The things that stands out are her open-mindedness, thoughtfulness and thoroughness.”
The Almanac of the Federal Judiciary contains high praise for Judge Laporte, including the following:
        “She is capable and has a very good understanding of the law. She can fill in the missing pieces.”
        “She is an intellectual. She is smart.”
        “She is warm, friendly and professional…[she] made a fair decision when she had to.”
        “She is productive and helpful. She is engaged and fosters settlement.”
        “She is energetic. She loves what she does. She is active in getting parties to settle.”
In addition to high praise for her legal acumen and settlement skills, Judge Laporte is also regularly invited to speak on
panels for continuing education of attorneys and judges on a variety of legal topics, including intellectual property,
settlement, e-discovery, employment law and jury trials. Judge Laporte is also the author of numerous legal publications.

ADR Experience and Qualifications
        Presided over one of the nation’s largest civil caseloads through summary judgement or trial with consent of the
        parties as a magistrate judge in the Northern District of California; this court leads the nation in consent cases
        before magistrate judges by a large margin
        Previously served as the alternative dispute resolution magistrate judge for the Northern District of California
        As a magistrate judge for over 20 years, conducted hundreds of settlement conferences and resolved hundreds of
        discovery disputes
        Frequent lecturer and speaker on settlement and ADR topics, as well as intellectual property
        Known for being one of a small number of magistrate judges who have received consent from lawyers to preside
        over their patent cases from start to finish

Representative Matters
Antitrust
        Datel v. Microsoft
        Presided over case involving allegations of antitrust, patent infringement and copyright violations related to video
        game technology; the plaintiff manufactured accessories for the defendant’s gaming system and brought antitrust
        allegations after the defendant altered its software, disabling the plaintiff’s product; the defendant then brought
        claims for patent infringement against the plaintiffs
Business/Commercial
        Settled breach of contract dispute in which plaintiff allegedly entered into an agreement with defendants wherein
        defendants would serve as the importer of plaintiff's electronic lighting products into the U.S. market; defendants
        allegedly broke their agreement
        Settled contract dispute between a group of doctors and a managed care company related to access to clients at
        certain contracted rates
        Settled case involving a nationwide recall of a candy product caused by excessive levels of lead; plaintiff asserted
        that the high levels in its products were due to exceedingly high levels of lead in an ingredient supplied by
        defendant; allegations included breach of contract, breach of express warranty, breach of implied warranty of
        merchantability and breach of implied warranty of fitness
        Rising Tide I, LLC, et al. v. Fitzsimmons, et al. and Abdo, et. al. v. Fitzsimmons, et al.
        Presided over securities cases in which plaintiffs allegedly purchased millions of dollars of securities based on false
        and misleading representations and then sued senior officers and board members for violations of securities laws
Class Action and Mass Tort
        Settled a class action lawsuit wherein plaintiff sought to represent a class of employees that worked overtime for
        the defendants but were allegedly not compensated for those hours
        Settled dispute involving former customers of a provider of natural gas; the customers brought the action on behalf
        of themselves and a proposed class based on allegations that included fraud, breach of contract, negligent
        misrepresentation and violation of the Recording Act in telemarketing
        Presided over numerous Telephone Consumer Protection Act (TCPA) matters and was settlement judge in other
        TCPA cases
Employment
        Impey v. Office Depot
        Presided over employment age discrimination case through trial

https://www.jamsadr.com/laporte/                                                                                               2/6
       Case 1:05-md-01720-MKB-JAM Hon.Document
11/21/2019                                           7791-2
                                       Elizabeth D. Laporte          Filed
                                                            (Ret.), JAMS   11/21/19
                                                                         Mediator             Page 4 of 27 PageID
                                                                                  and Arbitrator
                                                         #: 113491
        Presided over numerous discrimination cases, including  discrimination based on age, gender, national origin and
        race
        Presided over as well as settled numerous employee class actions against employers claiming misclassification as
        exempt employees and other issues resulting in wage and hour violations of federal and state laws, some including
        issues of federal preemption
        Presided over executive termination and whistleblower matters
        Presided over multiple Americans with Disabilities Act matters
Environmental
        People of the State of California, et al. v. United States Department of Agriculture, et al., and related case The
        Wilderness Society, et al. v. United States Forest Service, et al.
        This case involved the “Roadless Rule,” issued under President Bill Clinton, which barred building roads in more
        than 50 million acres of national forest; President George W. Bush replaced the Clinton rule with one that gave
        states more control; environmental groups and several Western states challenged the repeal in federal court, and
        Judge Laporte presided over that case
        Natural Resources Defense Council, Inc., et al. v. Evans, et al.
        Environmental matter involving allegations that Navy sonar harms ocean animals
Insurance
        Settled insurance coverage dispute over professional liability policy with claim for rescission and declaratory relief
        and counterclaims for breach of contract and implied covenant of good faith and fair dealing for failure to defend
        Settled case involving legal expenses for an insured under an existing policy; plaintiff alleged that the defendants
        also have a duty to contribute to those legal expenses and brought the suit against them for not paying their fair
        share
        Settled first-party breach of contract and bad faith insurance coverage lawsuit that arose out of defendant's
        declination of plaintiff's property insurance claim for the cost to repair construction deficiencies and construction
        deficiency–related water damage
        Settled dispute in which plaintiffs purchased travel insurance policies from defendants and alleged that they were
        denied some of the benefits under the policies; they then brought a class action to challenge defendants' decision
        to deny benefits
        Settled products liability case in which plaintiff alleged that a microwave malfunctioned and caused a fire that
        damaged a rental unit; the landlord and tenant were insured; plaintiff paid the insureds for losses that plaintiff
        contended were caused by defendant's actions and omissions
        Settled case involving situation in which plaintiff was covering legal expenses for an insured under an existing
        policy; plaintiff alleged that the defendants also had a duty to contribute to those legal expenses and brought the
        suit against them for not paying their fair share
        Settled ERISA case against employer with collective bargaining agreement with a union local
        Settled insurance case involving an independent insurance agency
        Settled action that arose out of an alleged breach of collective bargaining agreement
Intellectual Property
        Roche Molecular Systems, Inc. v. Cepheid
        Presided over patent case by consent; case involved a challenge to the validity of a patented diagnostic related to
        using DNA to detect a pathogen associated with a disease-causing bacterium; Judge Laporte’s decision was
        affirmed by the Federal Circuit Court of Appeals
        Informatica Corp v. Business Objects Data Integration, Inc.
        Presided over patent infringement dispute between two enterprise software business intelligence companies
        Oracle v. SAP
        Presided over discovery portion of large copyright infringement case leading to a jury verdict, and subsequently it
        settled; case involved sophisticated issues of e-discovery
        Settled trademark case that involved U.S. and foreign trademarks
        Settled trademark infringement case against a Chinese manufacturer of smartphones and associated chargers by
        wireless headphone American subsidiary and German parent
        Settled patent infringement case between the owner of several patents related to storage of electronic data and a
        California company that provided software for file synchronization and sharing
        Settled patent infringement case between leading competitors in operating room technology/medical field
        Settled copyright and trademark infringement case brought by American subsidiary of Japanese company with
        famous trademarked and copyrighted characters and logos against a California corporation with numerous
        websites on which it made allegedly infringing sales of various consumer products
        Williams Sonoma v. Amazon
        Presided over trademark and patent infringement case between a home goods company and an online retailer

https://www.jamsadr.com/laporte/                                                                                                 3/6
       Case 1:05-md-01720-MKB-JAM Hon.Document
11/21/2019                                           7791-2
                                       Elizabeth D. Laporte          Filed
                                                            (Ret.), JAMS   11/21/19
                                                                         Mediator             Page 5 of 27 PageID
                                                                                  and Arbitrator

        ASM America, Inc. v. Genus, Inc.                 #: 113492
        Presided over patent infringement case in which the technology involved included atomic layer chemical vapor
        deposition machines used to form thin layers of insulating material, conducting material and semiconducting
        material
        Sun Microsystems v. Network Appliance Inc.
        Presided over patent infringement case between two high-tech companies related to patents for data processing
        systems and related software
        Presided over Defend Trade Secrets Act (DTSA) case between two specialty pharmaceutical companies
        Presided over patent infringement and DTSA case concerning software patents directed to integration of multiple
        processors and memories into shared-memory computers


Honors, Memberships, and Professional Activities

Memberships and Affiliations
        Member, Cross-Border Privilege Issues Brainstorming Group, The Sedona Conference, 2019–present
        Member, Board of Governors, Northern California Chapter of the Association of Business Trial Lawyers, Ongoing
        Judicial Co-Chair, Training Program, Federal Judicial Center and Electronic Discovery Institute, 2017–2019 and
        was also a Faculty Member, 2015–2019
        Member, Patent Local Rules Committee, United States District Court, Northern District of California, 2015–2019
        Member, Judicial Advisory Board, The Sedona Conference, 2013–2019
        Board Member, Federal Magistrate Judges Association, 2018–2019
        Founder, Women Attorneys Advocacy Project, United States District Court, Northern District of California, 2015
        Member, Editorial Board, Federal Courts Law Review, 2014–2019
        Judicial Observer, Working Group 1 on Electronic Document Retention and Production, The Sedona Conference,
        2008–2019
        Member, Chiefs in Intellectual Property, Ongoing
        Chair, Northern District of California Local Rules Committee Subcommittee on E-Discovery, 2012
        Member, Judicial Review Team, The Sedona Conference Cooperation Proclamation Resources for the Judiciary,
        2011
        Member, Executive Board, Ninth Circuit Magistrate Judges, 2004–2005, 2013–2014
               Chair, 2004–2005
        Member, Jury Trial Improvement Committee, Ninth Circuit Court of Appeals, 2002–2009
        Chair, Magistrate Judge Executive Board, Ninth Circuit; Observer, Judicial Council, Ninth Circuit, 2000–2002
Selected Awards and Honors
        Judicial Leadership Award, Electronic Discovery Institute, 2015
        California Lawyer of the Year, California Lawyer,1996
Selected Publications
Judge Laporte has written numerous articles and contributed to many publications, including the following:
        Contributed to the Federal Judicial Center’s Patent Mediation Guide, January 2019
         “Trying Employment Cases: A View From the Bench,” Northern California Association of Business Trial Lawyers’
        ABTL Report, Winter 2011/2012
        Co-Author, “Wrongful Termination and Related Disputes,” Chapter 61: " Bringing and Defending Wrongful
        Termination Claims" in California Employment Law, 2010
        “Getting the Most Out of Judicial Settlement Conferences,” Northern California Association of Business Trial
        Lawyers’ ABTL Report, Winter 2006
        California Civil Litigation Reporter, "Judge's Perspective: E-Discovery: New Federal Rules, Same Basic Principles,”
        Vol. 28 No. 6; December 2006
        “Managing the Runaway Patent Case,” Northern California Association of Business Trial Lawyers’ ABTL Report,
        Summer 2003
        Judicial Reviewer, Continuing Education of the Bar’s California Civil Discovery Practice


Background and Education


https://www.jamsadr.com/laporte/                                                                                          4/6
       Case 1:05-md-01720-MKB-JAM Hon.Document
11/21/2019                                           7791-2
                                       Elizabeth D. Laporte          Filed
                                                            (Ret.), JAMS   11/21/19
                                                                         Mediator             Page 6 of 27 PageID
                                                                                  and Arbitrator

        United States Magistrate Judge, Northern District#:of113493
                                                              California, 1998–2019
               Chief United States Magistrate Judge, Northern District of California, 2013–2014
        Chief of Special Litigation, San Francisco City Attorney’s Office, 1996–1998
        Administrative Law Judge, California Department of Insurance, 1991–1996
        Partner and Associate, Turner & Brorby, 1983–1991
        Law Clerk, The Honorable Marilyn Hall Patel, Northern District of California, 1982–1983
        Policy Planner/Economist, Federal Trade Commission, 1977–1979
        J.D., Yale Law School, 1982
        M.A., Oxford University, 1977
               Marshall Scholar
        B.A., Princeton University, 1975




News
        November 11, 2019
        Hon. Elizabeth D. Laporte (Ret.) Joins JAMS in San Francisco
        https://www.jamsadr.com//news/2019/hon-elizabeth-d-laporte-ret-joins-jams-in-san-francisco


Events
        November 21 - 22, 2019
        2019 Advanced eDiscovery Institute
        Washington, DC, USA
        https://www.jamsadr.com//events/2019/2019-advanced-ediscovery-institute


Practice Areas
        Antitrust/Competition Law
        Business & Commercial Law
        Civil Rights
        Class Action & Mass Tort
        Employment Law
        Environmental Law
        Federal Law
        Insurance
        Intellectual Property
        Special Master/Discovery Referee


Locations
        San Francisco, California
        Sacramento, California
        Santa Rosa, California
        Silicon Valley, California
        Walnut Creek, California
        Los Angeles, California
        Orange County, California

      Available nationwide ›




Disclaimer

https://www.jamsadr.com/laporte/                                                                                    5/6
       Case 1:05-md-01720-MKB-JAM Hon.Document
11/21/2019                                           7791-2
                                       Elizabeth D. Laporte          Filed
                                                            (Ret.), JAMS   11/21/19
                                                                         Mediator             Page 7 of 27 PageID
                                                                                  and Arbitrator
                                                      #: 113494
This page is for general information purposes. JAMS makes   no representations or warranties regarding its accuracy or
completeness. Interested persons should conduct their own research regarding information on this website before
deciding to use JAMS, including investigation and research of JAMS neutrals. See More




https://www.jamsadr.com/laporte/                                                                                         6/6
        Case 1:05-md-01720-MKB-JAM
11/21/2019              A. Howard Matz AttorneyDocument         7791-2
                                               Profile | Bird, Marella,         FiledNessim,
                                                                        Boxer, Wolpert, 11/21/19       Page 8&of
                                                                                             Drooks, Lincenberg   27P.C.
                                                                                                                Rhow, PageID
                                                           #: 113495




       A. Howard Matz
       Senior Counsel


       hmatz@birdmarella.com

       310.201.2100




    Judge A. Howard Matz (Ret.) is Senior Counsel at Bird Marella. After
    serving on the bench of the United States District Court for the Central
    District of California for nearly 15 years, in 2013 he rejoined the rm he
    helped launch in 1983, then known as Bird Marella Boxer Wolpert & Matz
    P.C. During his 15 years with the rm, he was one of the rst attorneys
    listed in The Best Lawyers in America®. Judge Matz is a Fellow of the
    American College of Trial Lawyers and of the College of Commercial
    Arbitrators.

    Judge Matz was nominated to the federal bench by President Clinton and received his commission in June 1998.
    He presided over numerous noteworthy cases and several of his decisions were ultimately adjudicated by the
    Supreme Court. Judge Matz served on many judicial committees, including the Ninth Circuit Model Jury
    Instructions Committee. He chaired the District Court’s Pro Bono/Pro Se Committee and under his leadership
    the Committee established the nation’s rst walk-in Pro Se Clinic, which received widespread recognition.
    Additionally, Judge Matz was the rst recipient of the “Vanguard Award” bestowed by the California State Bar for
    his contributions to intellectual property jurisprudence. Upon his retirement from the Bench, the Federal Bar
    Association sponsored an unusual Dinner Tribute for Judge Matz in recognition of his judicial service.
https://www.birdmarella.com/attorneys/a-howard-matz/                                                                           1/8
        Case 1:05-md-01720-MKB-JAM
11/21/2019              A. Howard Matz AttorneyDocument         7791-2
                                               Profile | Bird, Marella,         FiledNessim,
                                                                        Boxer, Wolpert, 11/21/19       Page 9&of
                                                                                             Drooks, Lincenberg   27P.C.
                                                                                                                Rhow, PageID
                                                           #: 113496
    In addition to the above “ADR” matters, Judge Matz has represented certain private and pro bono clients as an
    advocate, in state and federal court; functioned as a Special Master in a precedent-setting civil case pending in
    the Central District of California; served as an expert witness in several engagements; presided over moot court
    presentations for several rms about to argue cases in appellate courts or try cases at the district court level;
    and spoken as a panelist at several professional conferences. He also enjoys mentoring younger lawyers in the
      rm.


    CONTACT INFORMATION
    For further information, including about fees, contact Judge Matz or his assistant, Joannie Han-Dressor
    (juh@birdmarella.com).




    Education
    Harvard Law School, J.D., 1968


    Columbia University, A.B., cum laude, 1965




    Honors & Awards
    College of Commercial Arbitrators, 2019


    American College of Trial Lawyers, 2017-present




    Representative Cases
    Among Judge Matz’s precedent-setting decisions are the following:

    Became the rst judge in the country to rule on challenges to the detention of alleged terrorists at Guantanamo
    Bay.




https://www.birdmarella.com/attorneys/a-howard-matz/                                                                           2/8
11/21/2019   Case 1:05-md-01720-MKB-JAM                Document
                          A. Howard Matz Attorney Profile | Bird, Marella,7791-2        Filed
                                                                           Boxer, Wolpert,      11/21/19
                                                                                           Nessim,               Page
                                                                                                   Drooks, Lincenberg    10 of
                                                                                                                      & Rhow, P.C.27
                                                     PageID #: 113497
    Ruled that under CERCLA, various California water districts were entitled to recover costs from a military
    weapons manufacturer for cleaning up perchlorate-contaminated aquifers.


    Enjoined real estate magnate and former Los Angeles Clippers owner Donald Sterling from using the word
    “Korean” (as opposed to “Koreatown”) in the names of some of his apartment buildings, nding that such
    practices violated the Fair Housing Act.


    Held for the rst time that the “sublicensing rule” from copyright and patent law should be extended to the
    licensing of trademark and related publicity rights. The Ninth Circuit a rmed that ruling by attaching Judge
    Matz’s decision as an appendix.


    Issued precedent-setting rulings construing the Digital Millennium Copyright Act in highly publicized cases,
    including those brought against Google by softcore pornography publisher Perfect 10 and against Veoh by music
    recording giant Universal Music Group.


    Ruled that the term “foreign o cial” in the Foreign Corrupt Practices Act encompasses high-ranking executives
    of state-owned enterprises.


    Ruled that Dick Clark Productions had the right to produce the Golden Globes award show under its contract
    with the Hollywood Foreign Press Association.


    JUDGE MATZ’S ARBITRATION AND MEDIATION PRACTICE

    In the brief period since he returned to the private sector, Judge Matz has been designated as a mediator or
    arbitrator in dozens of matters. They include:

    Arbitration Matters
    Patent infringement claims involving devices used for video games.


    Disputes over the scope of arbitration clauses.


    Dispute over whether arbitration agreement permits class-wide arbitration in case involving for-pro t higher
    educational institutions and their students.


    Dispute over alleged breach of contract involving alternative electric power supply in matter regulated by the
    California Public Utilities Commission.



https://www.birdmarella.com/attorneys/a-howard-matz/                                                                                   3/8
11/21/2019   Case 1:05-md-01720-MKB-JAM                Document
                          A. Howard Matz Attorney Profile | Bird, Marella,7791-2        Filed
                                                                           Boxer, Wolpert,      11/21/19
                                                                                           Nessim,               Page
                                                                                                   Drooks, Lincenberg    11 of
                                                                                                                      & Rhow, P.C.27
                                                     PageID #: 113498
    Antitrust claims about computer products arbitrated in Japan.


    Dispute over claimed breach of “a liation agreement” between a national television broadcaster and a major
    producer of televised content.


    Antitrust dispute between auto manufacturer and parts suppliers.


    Contract dispute involving ber optic cable systems installations.


    Dispute among insurance companies over reinsurance obligations.


    Dispute over development of for-pro t housing.


    Several disputes about the employment status of certain “gig workers.”


    Breach of agreement for exclusive international distribution of packaging for telecommunication devices.


    Breach of contract claims against manufacturer of turbines for wind power projects.


    Breach of contract claims against co-venturer brought by developer of web-based medical services.


    Patent infringement dispute between oil drilling titans.


    Contract dispute arising out of reorganization of major healthcare insurer.


    Mediation Matters

    Intra-family dispute over administration of trusts and allocation of assets.


    Trademark infringement claims involving competing garment manufacturers.


    Business and Professions Code § 17200 action against bank brought by governmental prosecuting o ce.


    Securities fraud claims against bank for its role in alleged immigration fraud.




https://www.birdmarella.com/attorneys/a-howard-matz/                                                                                   4/8
11/21/2019   Case 1:05-md-01720-MKB-JAM                Document
                          A. Howard Matz Attorney Profile | Bird, Marella,7791-2        Filed
                                                                           Boxer, Wolpert,      11/21/19
                                                                                           Nessim,               Page
                                                                                                   Drooks, Lincenberg    12 of
                                                                                                                      & Rhow, P.C.27
                                                     PageID #: 113499
    Multiple patent infringement disputes between software developer and prominent consumer-oriented
    businesses.


    Breach of contract and invasion of privacy claims involving giant social media enterprise.


    Breach of merchandising contract involving major professional sports league.


    Copyright and trademark claims involving competing jewelry manufacturers.


    Breach of contract claims involving rights to acquire telecommunications franchise in African nation.


    Breach of contract claims involving distribution of aircraft components in Brazil.


    Dispute over con rmation of arbitration award arising out of a supply and distribution agreement for supply of
    industrial energy.


    Dispute over ownership rights to valuable artwork seized by the Third Reich.


    Dispute over use of copyrighted music between estate of famous recording artist and popular performers.


    False advertising claim against manufacturer of nutrition products.


    Breach of contract claims arising out of commercial eet vehicle leases.


    Dispute among competitors over validity of former employee’s non-compete clauses.


    Putative class actions against national restaurant chain brought under “FACTA” statute.


    Breach of contract action over failed ventures in China involving internationally-famed brand.


    Putative consumer class actions against manufacturer of artesian-branded bottled water.


    Trademark infringement claims between famous manufacturers of high-energy supplement products.




https://www.birdmarella.com/attorneys/a-howard-matz/                                                                                   5/8
11/21/2019   Case 1:05-md-01720-MKB-JAM                Document
                          A. Howard Matz Attorney Profile | Bird, Marella,7791-2        Filed
                                                                           Boxer, Wolpert,      11/21/19
                                                                                           Nessim,               Page
                                                                                                   Drooks, Lincenberg    13 of
                                                                                                                      & Rhow, P.C.27
                                                     PageID #: 113500
    Claimed infringement of copyrighted adult entertainment brought against developer of software for content
    delivery on internet.


    Dispute between competing software developers over tradename.


    Trade secret theft and breach of duciary duty involving rm providing international transportation of freight
    and cargo.


    Action by government agency against major oil company for ground water contamination (MBTE; TBA).


    Putative class action against several rms for alleged violations of False Claims Act; Tra cking Victims Act;
    and FLSA, resulting from employment of foreign workers.


    Putative class action against pet food manufacturer for false advertising.


    Dispute over status and rights of independent distributors in a MLM (multi-level marketing) enterprise.


    In addition to the above “ADR” matters, Judge Matz has represented certain private and pro bono clients as an
    advocate, in state and federal court; functioned as a Special Master in a precedent-setting civil case pending in
    the Central District of California; served as an expert witness in several engagements; presided over moot court
    presentations for several rms about to argue cases in appellate courts or try cases at the district court level;
    and spoken as a panelist at several professional conferences. He also enjoys mentoring younger lawyers in the
      rm.




    Recent News & Events
    A. Howard Matz Speaks at California Lawyers Association Litigation Summit
    September 2019

    Senior Counsel A. Howard Matz was a featured panelist at the 2019 California Lawyers Association
    (CLA) Litigation Summit. Matz participated in the panel discussion “Access to Justice,” moderated by
    California Deputy Attorney General Chad Stegeman. The panel discussed the many barriers that discourage or
    prevent would-be litigants to engage the justice system and ...




https://www.birdmarella.com/attorneys/a-howard-matz/                                                                                   6/8
11/21/2019   Case 1:05-md-01720-MKB-JAM                Document
                          A. Howard Matz Attorney Profile | Bird, Marella,7791-2        Filed
                                                                           Boxer, Wolpert,      11/21/19
                                                                                           Nessim,               Page
                                                                                                   Drooks, Lincenberg    14 of
                                                                                                                      & Rhow, P.C.27
                                                     PageID #: 113501
    Judge A. Howard Matz (Ret.) Appointed to Judicial Independence Committee of the
    American College of Trial Lawyers
    July 2019

    Senior Counsel and former United States District Judge A. Howard Matz has been appointed by the American
    College of Trial Lawyers (ACTL) to serve on its newly established Judicial Independence Committee. The
    committee will consist of seventeen ACTL Fellows who will monitor developments related to the importance of
    an independent ...



    Judge A. Howard Matz (Ret.) Admitted as a Fellow of the College of Commercial
    Arbitrators
    July 2019

    Former United States District Judge and Founding Principal (now Senior Counsel) A. Howard Matz has been
    inducted into the College of Commercial Arbitrators (CCA). The CCA is an invitation-only national organization of
    commercial arbitrators, promoting the highest standards of conduct, professionalism and ethical practices for
    arbitrators who serve the public ...



    Bird Marella Obtains Pro Bono Victory on Behalf of Homeless Mother
    January 2019

    Attorneys A. Howard Matz and Peter Goldschmidt obtained a victory on behalf of a homeless mother who was
    convicted of driving with a suspended license and ordered to pay to the court a total of $70 in court fees and
    $150 in nes. On appeal, Matz and Goldsmith argued that ...



    A. Howard Matz Inducted as a Fellow into the American College of Trial Lawyers
    September 2017

    Earlier this year, Bird Marella senior counsel Judge A. Howard Matz (Ret.) was inducted as a Fellow into the
    American College of Trial Lawyers. The American College of Trial Lawyers is composed of fellows who represent
    the best of the trial bar in the United States and Canada. Founded in 1950, ...



    A. Howard Matz Featured in Daily Journal’s Verdicts & Settlements
    April 2015

    Bird Marella Senior Counsel, Judge A. Howard Matz (Ret.), has been featured in Daily Journal’s Verdicts &
    Settlements, detailing his previous position as a Federal Judge and his current role with Bird Marella.




https://www.birdmarella.com/attorneys/a-howard-matz/                                                                                   7/8
11/21/2019   Case 1:05-md-01720-MKB-JAM                Document
                          A. Howard Matz Attorney Profile | Bird, Marella,7791-2        Filed
                                                                           Boxer, Wolpert,      11/21/19
                                                                                           Nessim,               Page
                                                                                                   Drooks, Lincenberg    15 of
                                                                                                                      & Rhow, P.C.27
                                                     PageID #: 113502
    A. Howard Matz to Speak at PLI Law and Regulation of Intermediary Businesses
    Conference
    October 2014

    Bird Marella Senior Counsel A. Howard Matz will be a featured speaker at the 2014 PLI Law and Regulation of
    Intermediary Businesses Conference, and will participate in the panel discussion “Practical Litigation Issues for
    Intermediary Businesses,”



    Retired Judge Rejoins Bird Marella
    September 2013

    Bird Marella is pleased to announce that one of its founding partners, former Senior District Judge A. Howard
    Matz, will rejoin the rm after a 15-year tenure on the United States District Court in the Central District of
    California. Matz press release.




                            ©2019 Bird, Marella, Boxer, Wolpert, Nessim, Drooks, Lincenberg & Rhow, P.C. All
    DISCLAIMER
                            rights reserved.                                                                                           




https://www.birdmarella.com/attorneys/a-howard-matz/                                                                                       8/8
Case 1:05-md-01720-MKB-JAM               Document 7791-2         Filed 11/21/19       Page 16 of 27
                                         PageID #: 113503



                                        CURRICULUM VITAE
                                       FRANCIS E. MCGOVERN

  CONTACT INFORMATION
  Duke University School of Law
  210 Science Drive
  Box 90362, Durham, NC 27708
  Tel: 919.613.7095     Fax: 919.613.7165
  Assistant Tel: 919.613.8525
  mcgovern@law.duke.edu

  EDUCATION

  B.A., 1967, Yale University
  J.D., 1973, University of Virginia

  MILITARY

  U.S. Marine Corps, Captain, 1968-1971

  EMPLOYMENT

  Professor of Law, Duke University School of Law, 1997-present
  Visiting Professor University Alabama School of Law, 2013-2014
  Visiting Professor of Law (Spring), University of Navarre, Spain, 2012
  Visiting Professor of Law (Summer), Hong Kong, 2012
  Visiting Professor of Law (Spring), University of California at Berkeley School of Law, 2000–2011
  Senior Fellow, Stanford Center on Conflict and Negotiation, Stanford Law School, 2000-present
  Visiting Scholar, Harvard Law School, 2005
  Visiting Professor of Law, Stanford Law School, 1999-2000
  Francis H. Hare Professor of Torts, 1987-1996, Professor of Law, 1985-1987, The University of
     Alabama School of Law
  Visiting Professor of Law, University of Fribourg (Switzerland), 1990-1991
  Visiting Professor, Duke University School of Law, 1989
  Senior Associate and Research Fellow, Project on Negotiation, Harvard Law School, 1985-1987




  5/13/13
Case 1:05-md-01720-MKB-JAM             Document 7791-2         Filed 11/21/19      Page 17 of 27
                                       PageID #: 113504
                                                                                        McGovern, Page 2


  Visiting Professor, Massachusetts Institute of Technology, 1984-1985
  Visiting Professor of Law, Boston University School of Law, 1983-1985
  Professor of Public Health Law, University of Alabama-Birmingham, 1979-1990
  Professor of Law, 1980-1984, Associate Dean, 1980-1982, Assistant Dean, 1978-1979, Associate
     Professor of Law, 1977-1980, Cumberland School of Law, Birmingham, Alabama
  Attorney, Vinson & Elkins, Houston, Texas, 1973-1977

  BAR ASSOCIATIONS
  Texas; Alabama; District of Columbia; Virginia

  AWARDS AND HONORS

  • Outstanding Achievement Award, CPR Legal Program Awards for Excellence and Innovation in
    Alternative Dispute Resolution, 1986
  • First Prize – Articles, CPR Legal Program Awards for Excellence and Innovation in Alternative
    Dispute Resolution, 1986
  • Lifetime Achievement Award, American College of Civil Trial Mediators, 2002
  • Distinguished Lecturer, University of Tennessee Law School, 2002
  • Schwartz Lecturer, Ohio State University, Moritz College of Law, 2003
  • Tar Heel Award, Raleigh News and Observer, 2004
  • Honorary Degree, Doctor of Laws, 2005, Averett University
  • Named Honoree, Francis E. McGovern Scholarship Award, Academy of Court Appointed
    Masters, 2010
  • Leadership Award, National Center for Victims of Crime, 2010
  • International Who’s Who of Commercial Mediation, 2011
  •       Honorary Degree, Doctor of Laws, Dominican University (California), 2011


  ADVISORY AND OTHER POSITIONS AND MEMBERSHIPS

  Academy of Court-Appointed Masters
      President
      Member, Board of Directors
  American Arbitration Association
      Member, Executive Committee
      Member, Board of Directors
      Advisor, Mass Torts Project
  American Bar Association
      Member, Mass Torts Commission
      Member, Council, Torts and Insurance Practice Section
      Chairman, Committee on Professional Issues, Torts and Insurance Practice Section
      Member, Task Forces on Initiatives and Referenda and Litigation Expense, Torts and Insurance
        Practice Section
      Reporter, Special Committee on Punitive Damages, Litigation Section
Case 1:05-md-01720-MKB-JAM            Document 7791-2         Filed 11/21/19      Page 18 of 27
                                      PageID #: 113505
                                                                                       McGovern, Page 3


       Advisor, Catastrophe Committee, Litigation Section
  American Law Institute
       Member
       Advisor, Complex Litigation Project
       Advisor, Restatement of American Indian Law
  Averett University
       Vice Chairman, Board of Trustees
       Chairman, Academic Affairs Committee
  Brookings Institute
       Member, Working Group on Civil Justice Reform
  Carnegie Commission
       Member, Task Force on Science and Technology in Judicial and Regulatory Decision Making
  Celotex Asbestos Settlement Trust
       Trustee
  Center for Public Resources
       Academic Sustaining Member and Consultant
       Member, Judicial Panel
  Conference of Chief Justices
       Advisor, Mass Tort Litigation Committee
  Consensus Building Institute
       Board Member
  Federal Judicial Center
       Consultant, Asbestos Litigation Seminars
  Fibreboard Asbestos Compensation Trust
       Trustee
  International Centre for Dispute Resolution
       Member, Neutral Arbitrator Panel
  Judicial Conference of the United States
       Advisor, Working Group on Mass Torts
  Judicial Panel on Multi-District Litigation
       Reporter, JPMDL Study Project
  Manual for Complex Litigation 2d
       Technical Advisor, Board of Editors
  National Mock Trial Championship Team
       Advisor
  National Center for State Courts
       Senior Advisor
  U.S. Judicial Conference
       Reporter, Court Administration and Case Management Committee
  Virginia Bar Association
       Member, Special Issues Committee
Case 1:05-md-01720-MKB-JAM             Document 7791-2           Filed 11/21/19       Page 19 of 27
                                       PageID #: 113506
                                                                                           McGovern, Page 4



  SPECIAL MASTER, COURT EXPERT, MEDIATOR, or NEUTRAL

  A.H. Robins Bankruptcy, Richmond, Virginia
  Abate v. ACandS, Inc., Baltimore, Maryland
  Abrams v. GAF, Pascagoula, Mississippi
  Adams, et al. v. U.S., et al., Boise, Idaho
  Agabekov v. Lucifer Lighting Co., New York, New York, and Geneva, Switzerland
  Ahearn v. Fibreboard, Tyler, Texas
  A.L.U. Textile v. Texaco Chemical, Passaic, New Jersey
  Amatex Bankruptcy, Philadelphia, Pennsylvania
  ASG, Washington, DC
  Associated Electric & Gas Insurance Services Limited v. Kender Morgan, Inc., et al., Las Vegas,
      Nevada
  Averill v. Averill, Kalispell, Montana
  Baron v. Budd, Dallas, Texas
  Blue Cross/Blue Shield of Mississippi, Inc. v. Louisiana Health Service and Indemnity Company,
      Baton Rouge, Louisiana
  Celotex Bankruptcy, Tampa, Florida
  Chieftan Royalty Company, et al. v. QEP Energy Company, Oklahoma City, Oklahoma
  Chickasaw and Choctaw Nations of Oklahoma v. Mary Fallin, et al., Oklahoma City, Oklahoma
  Cichon et al. v. Viasys Holdings, Chicago, Illinois
  City of San Antonio, San Antonio, Texas v. Hotels.com et al.
  Clean Water Act Regulatory Negotiation, Boise, Idaho
  Coffey v. Freeport Mc-Moran, Blackwell, Oklahoma
  Combustion Engineering Bankruptcy, Wilmington, Delaware
  Custer, et al. v. Cerro, et al., St. Louis, Missouri
  Dow Chemical v. Firemen's Fund, Bay City, Michigan
  Dow Corning Bankruptcy, Bay City, Michigan
  Dresser Bankruptcy, Pittsburgh, Pennsylvania
  Federal-Mogul Bankruptcy, Wilmington, Delaware
  Georgia Hensley, et al. v. Computer Sciences Corporation et al., Texarkana, Arkansas
  GeoTag Inc. v. Frontier Communications Corp., et al., Marshall, Texas
  Gibbs v. Lobit, Houston, Texas
  Global Research Analyst Settlement Distribution Fund, New York, New York
  Gray, et al. v. Derderian, et al., Providence, Rhode Island
  Hard Rock Café International v. Hard Rock Hotel Holdings, et al., New York, New York
  Hobbs, et al. v. Burlington Northern Santa Fe Railroad Co., Libby, Montana
  Idaho/Nez Perce/EPA Clean Water Act Regulatory Negotiation, Boise, Idaho
  In re: Babcock & Wilcox Bankruptcy, New Orleans, Louisiana
  In re: Bluegrass Crop Residue Dispute Process, Coeur d’Alene, Idaho
  In re: ConAgra Peanut Butter Litigation, Atlanta, Georgia
  In re: Currency Conversion Fee Antitrust Litigation, New York, New York
Case 1:05-md-01720-MKB-JAM             Document 7791-2          Filed 11/21/19       Page 20 of 27
                                       PageID #: 113507
                                                                                          McGovern, Page 5


  In re: Gray’s Lake, Boise, Idaho
  In re: Hipps Road, Jacksonville, Florida
  In re: Ohio Asbestos Litigation, Cleveland, Ohio
  In re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico on April 20, 2010,
      New Orleans, Louisiana
  In re: Passaic Fire Litigation, Newark, New Jersey
  In re: Pharmaceutical Industry Average Wholesale Price Litigation, Boston, Massachusetts
  In re: Phenylpropanolamine (PPA) Products Liability Litigation, Seattle, Washington
  In re: Silicone Gel Breast Implants, Birmingham, Alabama
  In re: The Libby Medical Plan qualified Settlement Fund Trust, Libby, Montana
  In re: WTC Properties, New York, New York
  In the Matter of American Skandia Investment Services, Inc., Chicago, Illinois
  In the Matter of Bank of America Securities, LLC, Washington, DC
  In the Matter of Bear, Stearns & Co., Inc., and Bear, Stearns Securities Corp., Washington, DC
  In the Matter of Citibank Global Markets, New York, New York
  In the Matter of Prudential Equity Group, Boston, Massachusetts
  Jenkins v. Raymark, Marshall, Texas
  Kauai Ka Lock Dam Litigation, Kauai, Hawaii
  Kinder Morgan, Inc. v. Associated Electric & Gas Insurance Services Limited, Houston, Texas
  Kimberly-Clark v. Cardinal, Atlanta, Georgia
  Kolbeck, et al. v. Twenty First Century, et al., Texarkana, Arkansas
  Linscomb v. Pittsburgh-Corning, Beaumont, Texas
  Manville Bankruptcy, New York, New York
  MCC Bankruptcy, Wilmington, Delaware
  National Gypsum Bankruptcy, Dallas, Texas
  Newman v. Stringfellow, Riverside, California
  Nez Perce Tribe & Idaho Power Co., Boise, Idaho
  Owens Corning Bankruptcy, Wilmington, Delaware
  Patrick v. Allen, New York, New York
  Plaintiffs v. Allstate Insurance Company, New Orleans, Louisiana
  Plaintiffs v. State Farm Fire and Casualty Company, New Orleans, Louisiana
  PSI of Indiana v. Exxon, Indianapolis, Indiana
  Scott v. Cardinal et al., Winston-Salem, North Carolina
  Securities and Exchange Commission v. Health South Corporation, Birmingham, Alabama
  Smith v. Hughes Aircraft, Tucson, Arizona
  Snake River Basin Adjudication, Twin Falls, Idaho
  Tilousi v. Arizona Board of Regents, Phoenix, Arizona
  Tribes and CFI Partnership, Milwaukee, Wisconsin
  UMG Recordings, Inc. v. NBC Universal, Inc., et al., Los Angeles, California
  UNR Bankruptcy, Chicago, Illinois
  Underwriters at Lloyd's v. McDermott, New Orleans, Louisiana
  United Nations Compensation Commission, Geneva, Switzerland
Case 1:05-md-01720-MKB-JAM               Document 7791-2            Filed 11/21/19        Page 21 of 27
                                         PageID #: 113508
                                                                                                McGovern, Page 6


  United States of America ex rel. Harold (Gene) Wright v. Agip Petroleum, et al., Texarkana, Texas
  United States v. Michigan, Kalamazoo, Michigan
  United States v. Thomas Solvent Company, Battle Creek, Michigan
  Upjohn v. Aetna, Kalamazoo, Michigan
  Valenzuela v. Hughes Aircraft Company, Tucson, Arizona
  W.R. Grace Bankruptcy, Wilmington, Delaware
  Wilhoite v. Olin Corporation, Birmingham, Alabama
  Woodman v. United States, Jacksonville, Florida
  Young v. Pierce, Tyler, Texas

  BOOKS

  The Preparation of a Product Liability Case, with Scott Baldwin and Francis Hare, Jr., Little, Brown and
     Company (1981 and 2d ed. 1993)
  Successful Litigation Techniques: Student Edition, with Joseph Kelner, Matthew Bender and Company
     (1981)

  ARTICLES
  Evaluating and Improving the MDL Process, 38 Litigation Magazine 26 (2012).
  Litigation after natural disasters, 15th International Liability Forum, Munich, Germany (2012).
  Multidistrict Litigation No. 2179, 58 LSU MINERAL LAW INSTITUTE 13 (2011).
  Punitive Damages and Class Actions, 70 LA. L. REV. 435 (2010).
  Distribution of Funds in Class Actions - Claims Administration, 35 J. CORP. L. 123 (2009).
  Dispute Systems Design: The United Nations Compensation Commission, 14 HARV. NEGOT. L. REV. 171
  (2009).
   Les Limites de la reparation du prejudice, Contributor, Dalloz (2009).
  Second-Generation Dispute system Design Issues in Managing Settlements, 24 OHIO ST. J. DISP. RESOL. 53
       (2008).
  A Model State Mass Tort Settlement Statute, 80 TUL. L. REV. 1809 (2006).
  The Evolution of Asbestos Bankruptcy Trust Distribution Plans, 62 N.Y.U. ANN. SURV. AM. L. 163 (2006).
  A Proposed Settlement Rule for Mass Torts, 74 U.M.K.C. L. REV. 623 (2006).
  A Model Mass Tort: The PPA Experience, 54 DRAKE L. REV. 621 (2006).
  Mediation of the Snake River Basin Adjudication, 42 IDAHO L. REV. 547 (2006).
  Challenges Faced by Courts in Chapter 11 Filings by Companies with Asbestos Liabilities, 24 DEL. LAW. 18
       (2006).
  Evaluation et Egalisation des Dommages pour Blessures Pesonnelles aux Etat-Unis, (Cour de Cessataions
       L’edition in-situ du Cycle sur DVD-ROM (2006).
  Strategic Mediation in Transboundary Water Large Lawsuits, Conference Proceedings Publication,
       Transboundary Waters: Crossing Cultural Boundaries, The Utton Center, Univ. of New Mexico
       Law School, Albuquerque, NM (2005).
  Procedural Difficulties and Innovations in Asbestos Litigations, International Comparison of Asbestos
       Litigation, Univ. of Kyoto (Japan) Graduate School of Law (2005).
Case 1:05-md-01720-MKB-JAM               Document 7791-2           Filed 11/21/19        Page 22 of 27
                                         PageID #: 113509
                                                                                              McGovern, Page 7


  Common Themes and Unintended Consequences in Class Action Reform, 83 WASH. U. L. Q. Why of
       Claims Resolution Facilities,” 57 STAN. L. REV. 1361 (2005).
  Compensation Schemes and Dispute Resolution Mechanisms: Beyond the Obvious, 21 NEGOT. J. 231
       (2005).
  The Future of Judicial Masters, 31 WM. MITCHELL L. REV. 1252 (2005).
  Judicial Ethics Meet Political Reality, The Bencher, American Inns of Court (Nov-Dec 2004).
  Asbestos Legislation II: Section 524(g) Without Bankruptcy, 31 PEPP. L. REV., 233-260 (2004).
  Asbestos Legislation I: A Defined Contribution Plan, 71 TENN. L. REV. 155 (2003).
  Deceptive Trade Practices Litigation: Context and Procedural Standards, Manhattan Institute Conference
       Series (October 2003).
   Mass Torts: Lessons in Competing Strategies and Unintended Consequences, 2 Civil Action (2003).
  Litigation as an Alternative to Legislation in Achieving Public Health Reform, XXIII La Revue Tocqueville
       (2002).
  Multiparty Disputes: Managing Variables Key to Successful Arbitration, 9 Dispute Resolution Magazine 3-4
       (Fall 2002).
  The Tragedy of the Asbestos Commons, 88 VA. L. REV. 1721 (2002).
  Settlement of Mass Torts in a Federal System, 16 WAKE FOREST L. REV. 102 (2002).
  Foreword: Complex Litigation at the Millennium, Special Editor, 64 L. & CONTEMP. PROBS. 1
       (Spring/Summer 2001).
  Toward a Cooperative Strategy for Federal and State Judges in Mass Tort Litigation, 148 PENN. L. REV.
       1867 (2000).
  Class Actions and Social Issue Torts in the Gulf South, 74 TUL. L. Rev. 1655 (2000).
  Strategic Mediation, Dispute Resolution Magazine (Summer 1999), at 4.
  Beyond Efficiency: A Bevy of ADR justifications, Dispute Resolution Magazine (Summer 1997), at 12.
  The Defensive Use of Federal Class Actions in Mass Torts, 39 ARIZ. L. REV. 595 (1997).
  Rethinking Cooperation among Judges in Mass Tort Litigation, 44 UCLA L. REV. 1851 (1997).
  Book Review, 95 MICHIGAN LAW REVIEW 2077 (1997) [reviewing Jack B. Weinstein, Individual Justice
       in Mass Tort Litigation (1996) and Michael D. Green, Bendectin and Birth Defects: The Challenges of
       Mass Toxic Substances Litigation (1996)].
  Implementing a Taint Test to Address the Problems Raised by Compelled Disclosure, 59 L. & CONTEMP.
       PROBS. 185 (1996).
  An Analysis of Mass Torts for Judges, 73 TEX. L. REV. 1821 (1995).
  Looking to the Future of Mass Torts: A Comment on Siliciano and Schuck, 80 CORNELL L. REV. 1022
       (1995).
  The Intellectual Heritage of Claims Processing at the United Nations Compensation Commission, in The
       United Nations Compensation Commission: Thirteenth Sokol Colloquium (Richard B. Lillich ed., 1995).
  Introduction: Models for Managing Mass Tort and Insurance Coverage Litigation, in Managing Complex
       Litigation: Procedures and Strategies for Lawyers and Courts, American Bar Association (1992).
  Lessons from U.S. Alternative Dispute Resolution, La médiation: un mode alternatif de résolution des
       conflits?, Schulthess Polygraphischer Verlag, Zürich (1992).
  Models for Managing Mass Tort and Insurance Coverage Litigation, in Managing Modern Litigation: Learning
       to Live With New Judicial Controls and New Trial Tools, American Bar Association (1991).
Case 1:05-md-01720-MKB-JAM                 Document 7791-2             Filed 11/21/19         Page 23 of 27
                                           PageID #: 113510
                                                                                                   McGovern, Page 8


  The Cycle of Mass Tort Litigation, Yale Law School Program in Civil Liability (1990).
  The Alabama DDT Settlement Fund, 53 L. & CONTEMP. PROBS. 61 (1990).
  Foreword: Claims Resolution Facilities and the Mass Settlement of Mass Torts, 53 L. & CONTEMP. PROBS. 1
      (1990).
  An Overview of Specialized Applications of ADR, in Handbook of Alternative Dispute Resolution, State Bar
      of Texas (1990).
  Resolving Mature Mass Tort Litigation, 69 B.U. L. REV. 659 (1989).
  The Discovery Survey, with E. Allan Lind, 51 L. & CONTEMP. PROBS. 51 (1988).
  The Trial of Socrates, with Judge Vaughn R. Walker, Bohemian Club, (2011).
  Moving the Pig Through the Python - Multiple Approaches to Resolving Case Management Problems in Toxic
      Tort Litigation, in SMU Products Liability Institute, Matthew Bender and Company (1988).
  Use of Masters and Magistrates in Complex Litigation, in ADR and the Courts: A Manual for Judges and
      Lawyers, Butterworth (1987).
  Court Appointed Experts: An Overview, in ADR and the Courts: A Manual for Judges and Lawyers,
      Butterworth (1987).
  Toward a Functional Approach for Managing Complex Litigation, 53 CHI. L. REV. 440 (1986).
  Managing Complex Litigation - Old and New Devices and Techniques, in SMU Products Liability Institute:
      Evidence and Tactics in the Product Liability Case, Matthew Bender and Company (1984).
  Book Review, 4 ENVTL. IMPACT ASSESSMENT REV. 597 (1983) [reviewing James K. Sebenius,
      Negotiating the Law of the Sea: Lessons in the Art and Science of Reaching Agreement (1984)].
  The Organization of Multiple Party Litigation: Class Actions and Multidistrict Litigation, in SMU Products
      Liability Institute, Matthew Bender and Company (1983).
  Management of Multiparty Toxic Tort Litigation: Case Law and Trends Affecting Case Management, 19 F. 1
      (1983).
  Toxic Substances Litigation in the Fourth Circuit, 16 RICH. L. REV. 247 (1982).
  The Alabama Extended Manufacturer's Liability Doctrine, Alabama Pattern Jury Instructions - Civil,
      Lawyers Co-operative Publishing Company (1982).
  The Variety, Policy and Constitutionality of Product Liability Statutes of Repose, 30 AM. U. L. REV. 579
      (1981).
  The Status of Statutes of Limitations and Statutes of Repose in Product Liability Actions: Present and Future,
      16 F. 416 (1981).

  SELECTED SPEECHES

  A.A. White Foundation Alternative Dispute Resolution Program
  Academy of Court-Appointed Masters Programs
  Aetna Alternative Dispute Resolution Program
  Alabama Bar Institute for Continuing Legal Education Programs
  Alabama Judicial College Programs
  American Arbitration Association Programs
  American Association of Law Schools Annual Meetings and Workshop
  American Bankruptcy Institute Programs
Case 1:05-md-01720-MKB-JAM           Document 7791-2         Filed 11/21/19     Page 24 of 27
                                     PageID #: 113511
                                                                                     McGovern, Page 9


  American Bar Association Annual Meetings, Mid-Winter Meetings and Special Programs
  American College of Civil Trial Mediators Annual Meeting
  American College of Trial Lawyers Annual Meeting
  American Enterprise Institute Programs
  American Law Institute - American Bar Association Programs
  American Society of International Law Regional Meeting
  American Society of International Law Programs
  American Society of Plastic and Reconstructive Surgeons Annual Meeting
  Andrews Publications Seminars
  Anglo-American Exchange Program
  Asia America Institute in Transnational Law
  Association of Analytic Chemists Annual Meeting
  Association of the Bar of the City of New York Programs
  Association of Trial Lawyers of America Annual Meetings and National Colleges
  Bank Depository User Group Annual Seminar
  Bernstein, Litowitz Forum
  Boston University Law School Programs
  Canadian – American Exchange Program
  Center for Public Resources (CPR) Conferences and Annual Meetings
  Columbia University Seminar on Toxic Substances Litigation
  Conference of State Supreme Court Chief Justices Annual Meetings
  Consensus Building Institute Programs
  Conservation Foundation Annual Meeting
  Cornell Law School Seminar
  Cour de Cassation Seminars
  Dallas Bar Association Program
  Delaware Judges Association Annual Meetings
  Dikemes College Year in Athens Seminar
  Duke Judging Science Programs
  Duke University Fuqua School of Business
  Federal Judicial Center National Programs, Seminars, and Special Programs
  Federalist Society Programs
  Fiduciary & Investment Risk Management Association Programs
  The Ford Foundation National Conference for Judges and Masters Involved in Western General
     Stream Adjudications
  Fordham Law Review National Symposium on Civil Justice Issues
  Fox Leadership Program, University of Pennsylvania
  Fuqua School of Business Seminars
  Georgetown University Medical and Law Centers Program for Science and Law
  General Motors Corporation Legal Seminars
  Harris-Martin Conferences
  Harvard Law School, Program on Negotiation Programs
Case 1:05-md-01720-MKB-JAM           Document 7791-2          Filed 11/21/19   Page 25 of 27
                                     PageID #: 113512
                                                                                  McGovern, Page 10


  Harvard University January Term Seminar
  HB Insurance Insolvency & Reinsurance Roundtable
  IACC/CAIL/ALI-ABA India Conference
  Idaho Water Users Associates Conference
  Inner Circle of Advocates
  Institute des Hautes Études Sur La Justice Judicial Seminars and Programs
  Institute for Law & Economic Policy Programs
  Institute Suisse de Droit Comparé Mediation Seminar
  International Bar Association Annual Meeting
  International Center for Hellenic and Mediterranean Studies
  International Conference on Iraq-Kuwait War
  Johnson & Johnson DePuy Hip Implant Litigation Conference
  Judicial Arbitration and Mediation Service Annual Programs
  Law and Society Annual Meetings
  Louisiana State Bar Association Annual Meeting and Programs
  Louisiana State University Law Review Symposia
  Manhattan Institute Conference Series
  Massachusetts Institute of Technology Ocean Conflict Resolution Conference
  McCammon Group Program
  Mealey’s Asbestos Conferences
  Montenegro Law Program
  Munich International Liability Forum
  National Academy of Sciences Programs
  National Association of Women Judges Annual Meeting
  National Center for Victims of Crime
  National Conference of Local Defense Associations Annual Meeting
  National Conference on Dispute Resolution and the State Courts
  National Conference on the Future of the Courts
  National Conference on Mass Torts
  National Forum for Judicial Excellence
  National Institute for Dispute Resolution Board Meeting
  National Judicial College Programs
  New York University Law School Programs and Seminars
  North Carolina Bar Association Dispute Resolution Program
  Northwestern School of Law Dispute Resolution Institute
  Ohio State Law School Programs
  Oxford University Seminar on Globalization of Class Actions
  Pennsylvania Judges Association Annual Meeting
  Pepperdine Law School Programs
  Practicing Law Institute Programs
  Product Liability Advisory Council Program
  Program on Distribution of Securities Litigation Settlements
Case 1:05-md-01720-MKB-JAM              Document 7791-2           Filed 11/21/19       Page 26 of 27
                                        PageID #: 113513
                                                                                           McGovern, Page 11


  Renmin University Program, Peking, Seminar
  The Rand Institute for Civil Justice Seminars
  Roger Williams School of Law Program
  Securities and Exchange Commission Programs
  The Sedona Conference Programs
  SOKOL Colloquium on Private International Law
  Sonoma State University Lecture
  Southeastern Corporate Law Institute Annual Programs
  Southern Methodist University Personal Injury and Products Liability Symposia
  Southwestern Law School Program
  Stanford Law School Programs and Seminars
  The Hague Academy of International Law
  The Hague Institute for Global Justice
  Transferee Judges Conferences
  Tulane Law School Programs
  UCLA Law Review Symposium on Alternative Dispute Resolution
  United States Courts Conference
  United States District Court, Eastern District of Texas, Judicial Education Conference
  United States Judicial Conference Advisory Committee on Rules Programs
  United States Judicial Conference Federal Jurisdiction Committee Programs
  United States Judicial Conference Standing Committee on Rules Programs
  United States Securities Exchange Commission Programs
  United States Third, Fifth, and Eighth Circuit Courts of Appeals Judicial Conferences
  United States Third, Fourth, Fifth, Sixth, Seventh, Eighth, Ninth, Tenth and Eleventh Circuit Court of
  Appeals Judicial Workshops
  University of Alabama Law Review Symposium on the Civil Justice Reform Act of 1990
  University of Arizona Communication School Conference on Trial Advocacy
  University of Arizona Law School Symposium on Class Actions
  University of California—Davis, School of Law Seminar
  University of San Francisco, School of Law Seminars
  University of Chicago Legal Forum Program on Juries
  University of Cincinnati Law School Program
  University of Colorado School of Law Seminar
  University of Connecticut Law School Program
  University of Houston Law Center Seminars
  University of Idaho School of Law Seminars
  University of Kyoto, Symposium on Asbestos Litigation
  University of Maryland School of Law Mass Tort Seminar
  University of Mississippi College of Law Seminar
  University of Missouri—Kansas City Seminar
  University of Oregon Law School Programs
  University of Pennsylvania Law School Programs
Case 1:05-md-01720-MKB-JAM            Document 7791-2       Filed 11/21/19   Page 27 of 27
                                      PageID #: 113514
                                                                                McGovern, Page 12


  University of San Francisco School of Law Seminars
  University of Southern California School of Law Seminar
  University of Texas School of Law Seminars
  University of Virginia School of Law Seminars
  Villanova Law School Mass Tort Symposium
  Yale Law School Conferences and Seminars
